  Case 7:19-cv-00738-EKD Document 1 Filed 11/01/19 Page 1 of 20 Pageid#: 1
                                                        CLERK'SOFFICE U.S.DISX COURT
                                                                                  AT RO&NOKE,VA
                                                                                       FILED
                                                                                  l40V 212219
                     G TH E UM TED STATESDISTRIC T COU RT                                          !
                                                                             JULI
                                                                                A C.DUDLEX CLE     j
                                                                            BY'                 J.'S
                     FOR M     W ESTERN DISTRICTOFW RGIN A                         D     C    u'
SALEM TO O LS,IN C .,

       Plaindff,

       V.                                           CivilActionNo '
                                                                  A',tqc-QAS%
                                                                       .




LM D M ARK TE CM O LO G Y A ,L LC,

       D efendant.                                  JURY TR IM ZD EM A N DED




                     C O M PLM NT FO R D ECLA R ATO RY JIJD G M EN T

       PlaintiffSalem Tools,Inc.(lçsalem Too1s''),byandthroughitsattom eyofrecord,files
thisComplaintforDiclaratory JudgmentofNon-lnfringementand Declaratory Judgm entof

InvalidityofU.S.PatentNo.7,010,508Ctthe5508Patenf')againstDefendantLandmark
TechnologyA,LLC (siLandmark Technology'')andherebyacknowledges,onknowledgeofits
own actions and inform ation and beliefasto a11otherm atters,as follow s:

                                 N A TUR E O F TH E A CTIO N

       TMsisan actionfordeclaratoryjudm entthatSalem Toolsdoes
notinfringe any valid claim ofthe '508 Patentand thatthe 1508 Patentisinvalid. A ccordingly,

Salem Toolsbringstllisaction seekinga declaration thatithasnotinfringed and doesnot

infringe any valid and enforceable claim ofthe :508 Patent. A dditionally,Salem Tools seeks a

judpnentthatLandmark Teclmology'srepeatedattemptstoenforceandlicensethe:508Patent
are in bad faith and constim te unfair and deceptive tradepractices.

2.     A tnle and correctcopy ofthe 5508 Patentis attached as ExhibitA .
     Case 7:19-cv-00738-EKD Document 1 Filed 11/01/19 Page 2 of 20 Pageid#: 2




                                          PA R TIE S

3.      Salem ToolsisaVirgirlia cop orationwith itsprincipalplace ofbusinessat1602

M idland Road,Salem ,V A 24153.

4.      On inform ation and belief,D efendantLandm ark Technology is aN orth Carolina lim ited

liability companyhaving itsprincipaloftk eat2530 M eridian Pkwy Suite 300,Durham ,NC

27713 and registered office at120 Penm arc D rive Suite 118,R aleigh,N C 27603.

                              JU R ISD IC T IO N A N D V E N U E

5.      TheCourthasoriginalandexclusivesubjectmatterjurisictionovertheseclaims
pursuantto28U.S.C.jj1331and 1338(a)becausetllisComplaintstatesclaimsadsingtmderan
ActofCongressrelatingtopatents,35U.S.C.j271.
        TllisComplaintalsoadsestmdertheFederalDeclaratoryJudgmentAct,28U.S.C.jj
2201and2202etseq.basedonthedeclaratoryjudm entsoughtby Salem Toolsdueto
Landm ark Teclm ology's repeated accusationsagainstSalem Tools forpatentinfringem entand

itspattern ofacm allitigation concem ing the :508 Patent,thereby giving rise to an actualcase or

controversy.

        By sending demand letters,Landm ark Technology hasdirectly targeted Salem Tools,a

V irgirlia resident,and intentionally conducted itsbusinessin the Com m onw ealth ofVirginia.

8.      ThisCourthaspersonaljudsictionoverLandmark Technology.Uponinformationand
belietlLandmarkTechnologyconductssubstantialbusinessinthisjudicialDistlict,including
regtzlarly doing orsoliciting business,engaging in otherpersistentcourses ofconduct,and

dedving substantialrevenue from individualsand entitiesin V irgirlia.U pon inform ation and

belietlLandmarkhaspurposefully andrepeatedlydirecteditsactivitiesatresidentsofVirginia,
including sending lettersto othercom paniesbased in V irginia,asserting infringem entofthe :508



                                               2
   Case 7:19-cv-00738-EKD Document 1 Filed 11/01/19 Page 3 of 20 Pageid#: 3




Patentand dem anding pam entofm oney.Thus,Landm ark Teclmology hassuffcientm inimllm

contactswith theComm onwea1th ofVirginiato satisfy theVirginialong-arm statute,Va.Code
                                         1.
Ann.j8.01-328,andConstitutionaldueprocessrequirementsbecauseLandmarkTechnology
regularly conducts businessactivities in V irginia.

9.      Further,thisCourthaspersonaljudsdictionoverLandmarkTechnologyadsing from
Landmark Teclmology'sown ptlrposefuland tortiousconductdirected atVirginiaand its

residentsand occtm ing in theCommonwea1th ofVirginia.

10.     Landm ark Technologyhasa well-docllm entedhistoryofsending demand lettkrsaccusing

companiesofinfringing Landm ark Teclmology'srightsregardingthe $508Patentand related

patents,offering to provide the alleged infringersa non-exclusive license to use the patentat

issueforafeeand suing thesecompaniesifthey do notpay Landm ark Teclmology foralicense

tousethesubjectpatent.Salem Toolsreceivedtwosuch demandlettersfrom Landmark
Technology in A ugustand Septem ber of2019 accusing Salem Tools ofinfringem entand

demanding apam entof$65,000 foralicense.Landmark Teclmology'sdemandlettersto

Salem Tools,b0th separatelyandtakentogetherwithLandmarkTechnologfshistoryoffiling
patentinfringem entlawsuitsregardingthe :508Patentand otherpatents,exemplifestheactual

caseorcontroversytmder28U.S.C.jj2201and2202arisingfrom Landmark Teclmology's
dem and lettersto Salem Tools.
                     .




        VenueisproperintheW estem DistrictpfVirginiapursuantto28U.S.C.jj139109,
1391(c)and 140009,asasubstantialpartoftheeventsgivingrisetotheclaimsinthis'complaint
occurredintlzisJudicialDistrictand Salem Toôls'pdncipalplace ofbusiilessisin thisJudicial

D istrict.
   Case 7:19-cv-00738-EKD Document 1 Filed 11/01/19 Page 4 of 20 Pageid#: 4




12. UnderTcHeartlandllc v.KrajtFoodsGrp.BrandsLLC,137S.Ct.1514(2017)and
itsprogeny,and28U.S.C.j 1400,anysuitforinfringementuponthe1508Patentmustbe
broughtinthejudicialdistrictwhereSalem Toolsresidesorhasaregularorestablishedplaceof
business.

13.    Salem Toolsboth residesandhasitsregular,established place ofbusinessin theW estem

DistrictofVirgirlia;thus,venueisappropdate.
                                          in thisCourt.

                                 FA CTU AL BA CK G R O UN D

G eneralB ackeround

14.    OninformationandbelietlLandmark Technologyisanentitycommonlyreferredtoasa
patenttrollwhosebusiness'activitiessolely consistofsending dem and lettersseekingpatçnt

license fees and receiving license fees in return,or filing law suits againstpurported patent

infringerswhofailtopaythelicensefeedemanded.Oninformation andbelieflLandmark
Technology claim stohave'iexclusivedghts''tothe :508Patentwith therightto enforcethe

1508 Patent.

15.    On information andbelief,Landm ark Teclmology'ssolebusinessmodeland activity

involvessending lettersaccusing othersofpatentinftingem entand threatening litigation. Upon

informationandbelietlLandmarkTeclmologydoesnotmake,use,orsellanyproductorservices
ofitsow n.

16.    Oninformation andbelietlLandmarkTechnologyisinvolvedinatleastseven other
law suits againstvadous com panies involving claim saboutthe :508 Patent.

       Landm ark Teclm ology and itspredecessor com pazlies,aspatepttrolls,have sued

hundzeds ofcom paniesfornuisance value am otmtsbased on likely-invalid and non-infringed

patents,w astinc valuable courtresotlrces to force com paniesto pay them forbaseless intellectual



                                                 4
   Case 7:19-cv-00738-EKD Document 1 Filed 11/01/19 Page 5 of 20 Pageid#: 5




property because itislessexpensiveto settlefornuisanceam otmtsthan litigate.Exploitinathe

U .S.federalcotlrtsvstem to aain leverage overthose itaccusesofinfringem ent- w ithouthaving

any intention ofactuallv enforcina itspatentbased on themerits- isthehallm ark ofLandm ark

Technology'sbusinessm odel.

18.    Landmark Technology also appearsto systematically and quickly settlelitigationspdor

to anypotentially dam agingrulingson thebaselessnessofLandmark Technology'sclaims,

thereby presew ing its ability to extractlicensing fees from other com panies m oving forward.

L andm ark Technoloav'sD em and Letters to Salem Tools

19.    O n oraboutA ugust2,2019,Landm ark Technology,stating thatithas ççexclusive rights''

topatentsincludingi'its:508(Pqatent,''sentitssrstdemandletter(theltFirstLetter'')to
M r.W illiam Pow ell,Jr.ofSalem Tools,Inc.,asserting thatSalem Tools infringesthe '508

Patent,claimingthatGithe specific ftm ctionalitiesimplem entedby ST Solutionsusing their

servers and devices interfaced to ST Solutions'w eb servers constitutesuse ofthe technology

taughtw ithin the m eaning ofClaim 1 ofthe 1508 patent.'' A tl'ue and correctcopy ofthe First

Letteras received isattached as ExhibitB .

20.    The FirstLetterdoesnotinclude an elem entby elem entanalysis,orany othertype of

straight-faced,reasonable,orproperdescdption ofSalem Tools'servicespurported to infringe,

and instead sim ply includesa link to tw o pageson Salem Tools'w ebsitel, along w ith generic

accusations,whichupon informationandbelietlarecommontomostora11ofthedemandletters
Landm ark Technology sendsto alleged infringers ofthe :508 Patent. Landm ark Technology

furtherdem anded pam entthrough deceptive and m isleading inform ation regarding the

importanceoftheG508PatentasaGGpioneerpatentEl''coveringççwidelyregarded''tecbnology.


lSee, e.
       g.,he s-
              '//-     -stsolutionsoline-com

                                                5
  Case 7:19-cv-00738-EKD Document 1 Filed 11/01/19 Page 6 of 20 Pageid#: 6




21. A tkee-panelboardofexpertjudgesattheU.S.Patent& Trademark Oftke(EtUSPTO'')
hasalready stated thatthereisno evidencethatthe :508patentisin anyway aEtpioneerpatent''

(SeeExhibitC.)
22.    TheFirstLetterconcludesby offedng Salem Toolsa ûçnon-exclusivelicenseto its'508

patent,for$65,000.''TheFirstLetterrequested aresponsewithin 15 days.

23.    Landm ark Teclmology statedin itsletterthatthe $65,000 dollarnllmberisaEtsubstantial
discötmttothehistoricallicensingpdce ofLandm ark'sportfolio''butitappearsLandmark

Technology offerseverm nethesamenumber.Accordingly,upon inform ationbelief,this

statem entisfalse.

24.    Nowherein theFirstLetterdid Landm ark Teclmology indicatethatitsofferwas

negotiable.Uponinformationandbelietlthistacticisdesignedtoextractpaymentf'
                                                                         rom letter
recipients,lcnowing thatthepaymentwouldbesignifkantly lessexpensivethan defending

againsteven an invalid patentin federalcotut

25.    On oraboutSeptember20,2019,Landm ark Technology senta second dem and letterto

Mr.Powell(theçûsecond Letter''l.TheSecondLetterreiteratedthelicensingoffertoSalem
Toolsforaççnon-exclusive licenseto its:508patentfor$65,000.''A true and correctcopy ofthe
Second Letter asreceived isattached as ExhibitD . N owhere in the Second Letterdid Landm ark

Technology indicatethatitsofferwasnegotiable.

26.    Salem Toolshad no knowledge ofLandmark Technology orthe $508 Patentuntilreceipt

ofthe FirstLetter.




                                               6
   Case 7:19-cv-00738-EKD Document 1 Filed 11/01/19 Page 7 of 20 Pageid#: 7




The :508 Patent

27.    The :508 Patent,entitled çW utom ated M ultim edia Data Processing N etwork,''issued on

oraboutM arch 7,2006. Thenam ed ùw entorofthe 1508 PatentisLawrenceB.Lockwood

(çtockwood').
28.    The '508Patentisdirected to çlterminalsused by bankina and otherfinancialinstitutions

tom aketheirservicesavailableata11hoursofthe day from variousremotelocations.''

(ExhibitA,col.1,11.22-25(emphasesaddedl.) Salem Toolsisnotabankingorotherfinancial
instimtion;Salem Toolssellstools.

29. Thepatentstates'
                   .ûTheprincipalobjectofthisinventionistoprovideaneconomical
meansforscreeningloanapplications.''(SeeExhibitA,col.1,ll.46-47(emphasesaddedlo) Yet
thatdescdption and thefinancialinstiG tion aspectsofthepatent,wllich limittheclaim sas

explained below,havenothing to do ata11with Salem Tools'businessofdistlibutingtools.

Otherobjectsoftheinventioninclude:ttasystem thattiestogetherfinancialinstitutiondata
processing,the com puterservices ofa creditreporting blzreau,and a plurality ofrem ote

terminals. Each rem oteterm inaldisplays the live im age ofa tk titious loan oftk erw ho helpsthe

applicantthrough an interactive seriesofquestions and answ ersdesir ed to solicitfrom the

applicanta11theinformationnecessarytoprocessllisloan application.''(SeeExhibitA,col.1,1.
64-col.2,1.4.)
30. ThePatentTzialandAppealBoardCtPTAB'')attheUSPTO determinedthattheclaims
ofthe '508 Patentare directed to ç:a fnancialproductor service''underthe Am erica hw entsA ct

CW IA'')andthattheclaimsaremorelikelythannotinvalid.(ExhibitC,at12.)
31. BecauseofthePTAB decision,the:508Patentnolongerenjoysapresllmptionof
validity.
   Case 7:19-cv-00738-EKD Document 1 Filed 11/01/19 Page 8 of 20 Pageid#: 8




32. Assuch,noreasonablelitigant,judge,orjurycouldbelievethatthe5508patentreadson
a w ebsite thatsellstools,orthatthe patentis valid.

33.    Figure 1isrepresentativeoftheclaim softhe '508 Patent:



                               :02                                                       su a
         ml A        40s                                                           ,qz
                M FJN:Lz                                                     1n1         M fWAI '
                                                                                                    1X
                                               Fl&z&o;t         N
                                                             104
                                                      rwm z?     !
                                                      mrvnm,    ! eora
                                                                l CME              $$Q
                                                                i     Fu
                                                :07
                                     ''
                                      To< o:                    i     * 1          1%
                         112            &                       :     uu
                                      tlo q                           'lœ
                XA                                              :
                Fm ttm         1a3                              j    Aore          111
                                     cx w v     1œ           lxsl cxu
                                      C m 7.                    1 ca
                                                                i     M&a
                                                                %. - -. ..




34. Theterminals105(seeminglydescdbedasçlstations''intheclaims)oftheclaimed
m ethodare analogousto ATM Sorothersmartself-service/autom ated m achineswhereauser

visitstherem oteterm inaland interactswith thattenninal. Partoftheinvention wasto m ove

beyondtypicalvendingm achinesand intotherealm ofçtmore complex typesofgoodsand

servicesdistdbution which requiresap eatdealofinteraction between individualsorbetween

individualsandinstitutions.''(ExhibitA,col.1,11.40-43.)
35.    Accordingto thepatent,rem oteterminalspresenta live imageofaGf ctitious''autom ated

loan officerwho w ould guide the userstllrough questions and then Kçm ake a decision based on all

theinformationgathered...''includingofferingaloan amotmt.(SeeExhibitA,col.1,1.64-col.
2,1.11.)




                                                       8
   Case 7:19-cv-00738-EKD Document 1 Filed 11/01/19 Page 9 of 20 Pageid#: 9




36.    According tothepatentandprosecution history,the '508 Patentpresentsa solution to a

problem oftyingtogetherfinancialinstitution dataprocessing,thecomputerservicesofa credit

reportingbureau,and apltlrality ofremoteterminals. Each remoteterm inaldisplaysalive

imageandinteractiveseriesofquestions.(Id.4
       A ccording to the patent,prosecution llistozy and claim s ofthe :508 Patent,the claim s of

the 5508 Patentrequire an interactivevideopresenàtion onthevideo display ofthestation or

terminal.(ExhibitA,col.7,11.4-12.)
38. Accordingtothe:508Patent,becauseeachuserusingtheterminal(orstation)ofthe'508
Patentwillprovide differentanswersto earlierquestions,theuserm aybeprovided with

subsequentquestionsdifferent9om thoseposedtoanotheruser.(SeeExhibitA.,col.4,1l.61-
64.)
39.    According to thepatentandprosecution M story,each useroftheclaim ed m ethod ofthe

'508 Patentwillbeprovidedwith an individualizedpresentation viathevideo-based interface.

(SeeExhibitA,col.3,11.54-58.)
40.    Theclaim softhe'508patentrequirethatitsm ethod m ake suggestions,orindependently

provide something differentthan whatwasrequestedbutmoreresponsivetotheuser'sneeds,

and outputsaid suggestionsviathevideo display.Note,forexample,the followinglanguage

f'
 rom claim 1(emphasesadded):
       meansforinteractivelv directinatheoperation ofsaid computer,video displav,
       datareceiving and transm itting m eans,and m assm em ory com pdsing m eansfor
       holding an operationalsequencing list,m eans forprocessing said operator-
       entered inform ation,inquides,and orders accordinz to baclcw ard-chairlina and
       forward-chainina seguences,andm eansresponsiveto thestatusofsaid
       com puter,display,m assm em ory,and datareceiving and transm itting m eans for
       controlling theiroperation'
                                 ,
 Case 7:19-cv-00738-EKD Document 1 Filed 11/01/19 Page 10 of 20 Pageid#: 10




       saidm eansforprocessinz includhm m eansforanalvzina said ooerator-entered
       informatlon andmeans.responsivetosaidmeansforanalvzinm forpresenting
         '

       addltionalhmuiriesinresoonsetosaidoperator-enteredinformation...
41.    Theclaim softhe '508Patentrequire forward-chaining and backward-chaining,wllich
                                                       '
                                         .
happensatthe situsofthe station ortermlnal,which in essence,appearsto meanthattheclaim ed

term inalor station ofthe '508 Patentinteractsw ith a userwho visits the rem ote location ofthe

terminalin orderto obtain asnancialproductorservice;thetenninalpresentstheuserwith a

liveimageofaRfictitious''fmancialinstitutionemployee(ag.,asctitiousloanofficer)who& st
tellstheuserhow to usetheterminal;theuserandthefctitiousemployeethen engagein an

iterativeback andforth to answerwhatthecomputerdeterminesarerelevantquestions,including

based on feedback from theuser;the fctitiousem ployeeisableto m ake suggestionsfor

fnancialproducts or services,including providing a loan am otm toffer.

The :508 Patent'sProsecution H istorv Further N arrow s the Patent's Scope

42.    Thepatentprosecution ofthe :508 Patentfrom fling to issuancewasa 10 yea:odyssey at

theUSPTO,wherenllm erousconcessionshad to bem adeby Landm ark Teclmology in orderto

getthepatentallowed. Duringprosecution,Lockwood madeclearthathebelieveshisinvention

datesbacktoM ay24.1984(theso-calledprioritydate).
43. TheExsminerinitiallyrejectedthepatentapplicationthatultimatelyissuedasthe:508
Paient(the::'772Application'')under35U.S.C.j112asbeingindefinite,non-enabling,and
lackingspecificationsupport;andtmder35U.S.C.j103asbeinganobviousvadationofprior
technology in an earlierLockw ood patent.

44.    In response,Loclcwood statedthatsupportforthem eans-plus-fhnction claim sin the 1508

Patentcould be found in the specification,using as supportinform ation from the specification

thatlimitstheclaimstoççfnancialinstitutionlsj,''Rprocesslingqloanapplications,''Giperiodically
 Case 7:19-cv-00738-EKD Document 1 Filed 11/01/19 Page 11 of 20 Pageid#: 11




polling thevariousterminals...in orderto verifytheirstam sandproperoperationy''and

tlfictitiousoffcer.''

45. Asexplainedin35USC j11249,ççAnelementin aclaim foracombination maybe
expressed asam eansorstep forperform ing a specified functionw ithouttherecitalofstructure,

m aterial,oracts in supportthereof,and such claim shallbe construed to coverthe corresponding

structure.material.oractsdescdbedinthespeciscation andequivalentsthereof.''(Emphasis
added.) Therefore,thelimitationsf'
                                 rom thespecificationarereadintotheclaimsforthese
m eans-plus-function aspectsofthe :508 Patent.

46.    Thebroadestreasonableinterpretation ofam eansplusfunction claim will,therefore,be

drawntothestrtlcmre,materialoractsdescribedinthespecitkationandtheirequivalents.(See
M .P.E.P.2181.)
47.     Salem Toolsisnota ççfnancialinstitution,''doesnotEçprocessloan applications,''does

notççperiodicallypo11E)thevadousterminals...in ordertoverifytheirstatusandproper
operation,''and doesnothave a çifictitious officen'' U pon infonnation and belief,lçstations''

according to the D em and Letter from Landm ark Technology are a custom er'scom puterorphone

wherethey submittheirordersfortools,forexample.Salem ToolsdoesnotperiodicallyGçpollgl''
theircustomerscomputersorphonesto verifytheirstatusand properoperation.

48. Further,i.
             nresponsetotheobviousnessrejection,Lockwoodarguedclaim 1tiemploysa
type ofproblem solving techniqueltnown intheartasGbackward-chaininp ' Backward-chaining

isawaytoemulatehuman inductivereasoningorgoal-directedreasoning.''(Emphasisadded.)
49.     Salem Tools'very typicale-com m erceplatform doesnotpractice lçbackw ard-chaining''

asclaim ed in the 1508 Patent,to the extentSalem Tools can try to discern the m earling ofthat

vagueand insuftk iently descdbed elem entofthe claim s.
 Case 7:19-cv-00738-EKD Document 1 Filed 11/01/19 Page 12 of 20 Pageid#: 12




50.    Lockwood also argued claim 1çtem ploysatypeofproblem solvingtechniqueknown in

the artas çforward-chaininp ' Forward-chaining is a com m on term ofartdesignating a w ay to

emulatehumandeductivereasoningordata-drivenreasoninp''(Emphasisadded.)
51.    Salem Tools'very typicale-comm erceplatform doesnotpracticeitforward-chaining''as

claim ed in the 1508Patent,to theextentSalem Toolscan try to discem them eaning ofthat

vague and insufsciently described elem entofthe claim s.

52.    On M arch 7,2006,the '508Patentissued.

53.    Upon inform ation and belief,thepatentwaschallenged attheUSPTO according to the

program forrequesting review bytheUSPTO'SPTAB forpatentsthatarebusinessmethod

patents.ThePTAB- apanelofthreeexpertjudges--decidedtore-revieW thepatent,holdingit
wasûtmorelikelythannot''thatthe1508Patent'sclaimswereinvalid.(SeeExhibitC.)
54.    Speciscally,theBoardheldthatthepatentwasm orelikelythan nothwalid tmder

35U.S.C.j112.(f#.) Salem ToolsagreesandSalem Toolscannotinfringewhatishopelessly
flawed claim language,including whatexactly constitutesbackward-chainingand forward-

chaining according totheclaim s.

55. Upon infonnationandbelie:therewasnore-review snaldecisionbecausetheparties,
including Loclcwood,settledpriorto a fm aldecision.

56.    Thus,in orderto infringetheclaim softhe 5508 Patent,ifitwerevalid,which Salem

Tools doesnotconcede,Salem Toolsm ustpractice everv sinale lim itation/elem entofclaim 1.

57.    Further,the Salem Tools'accused system mustincludeeverylim itation asarguedby

Lockw ood during prosecution.

58.    Claim 1 ofthe '508 Patentcontains a largenum ber ofm eansplusftm ction lim itations.

Under35U.S.C.j112(9,theclaimsarelimitedtothefunction describedinthespecitkation.



                                              9
 Case 7:19-cv-00738-EKD Document 1 Filed 11/01/19 Page 13 of 20 Pageid#: 13




Thebriefspecification doesnotprovidetherequired stnzcture ofthevadousûçm eans,''asnoted

by thePatentTdalandAppealBoard. Thisismadeworsebythenarrow and specitk scopethat

Landmark Teclmologyrepeatedly descdbed tohaveduringprosecution.Therequired levelof

detailisnotfotm d anywhere in the specification.

Salem T oolsD oesN otInfrinte the :508 Patent

59.    Salem Toolsdoesnotinfringeclaim 1,orany otherclaim ofthe :508Patent,because

Salem Toolsdoesnotpracticeevery lim itation of,byway ofexample,claim 1.

60.    Upon information and belief,Landm ark Teclmology failedto undergo areasonable

infringem entanalysispriorto sending its tw o dem and letters.

61.    Salem Toolsm arketsonlinethrough itswebsite,www.stsolutionsonline.com . In order

foracustomerto accesswww.stsolutionsonline.com,the customerm ustfirstchoose to install

thirdpartyinternetbrowsersoAware(such as:Intem etExplorer,Firefox,orSafari)ontothe
custom er's com puterordevice. A custom er can then tûvisit''Salem Tools'website by typing a

URI.into atextbox ofthebrowser.Thiscustomeraction causesthecustom er'sinternetbrowser

to send arequestto athird-party'sweb serverwhich hostsSalem Tools'websiteviaastandard

intem etconnection. In response to the requestf'
                                               rom the custom er'sbrow ser,a third-party web

servercausesSalem Tools'websiteto bedisplayed ontothecustom er'sdevice.

62.    Ifacustomerdecidestopresstçshop''on thestsolutionsonline.com website,they arere-

directedto third party servers,wllich usethetllird party'ssoRwarethatislicensedby Salem

Tools. The custom erthen interactsw ith them enusdisplayed on the custom er'sdevice in order

to selectand ordertools.

63.    Salem Tools'website ishosted atathird party'sweb serverfarm which,in turn,

com m llnicatesw ith Salem Tools'çlback end''com putersw hen necessary. Salem Toolsdoesnot




                                               13
 Case 7:19-cv-00738-EKD Document 1 Filed 11/01/19 Page 14 of 20 Pageid#: 14




own,operate,orhostitsown web serversnoraweb serverfann. Furtherm ore,Salem Tools

obviously doesnotown,operate,and/orcontrolany ofitscustom ers'computersorm obile

devicesused to accessitsw ebsite. A lso,m uch ofthe linking and data sending/receiving as

claim edby the :508Patentwould bepracticed by theIntem etasawhole,clearly som ething

Salem Toolsdoesnotown orhaveany controlover.

64.    Landm ark TechnologyallegesthatSalem Toolsserversconstitute an infringing use of

claim 1ofthe:508Patentwhencustomersusedevices(f.c.,Gtstations'')tointeractwithSalem
Tools'w eb servers. Salem Tools doesnotinfringe any valid and enforceable claim ofthe :508

Patentforreasonsincluding,butnotlimitedto,thefactthatthestations(j.c.,customerdevices)
accessing Salem Tools'w ebsite are notow ned orused by Salem Tools. A dditionally,even if

such terminals/stationswereowned orusedby Salem Tools,such tenninals/stationsdonot

utilizeanybackward-orforward-chaining technology,which isrequiredby claim 1ofthe1508

Patentbasedon concessionsm adeduringprosecution and by the inventorhimself;and no server,

computerordevice associated with Salem Toolsusesforward chainingteclmology atall,which

is also required by claim 1 ofthe 1508 Patent.

65.    Salem Tools'system doesnotutilize a1lelem entsofthe prolix :508 Patentclaim 1,or

any otherclaim . Also,to theextentany oftheelem entsarepracticed,severalelementsarenot

practicedby Salem Tools,butratherbythird parties.

       C O UN T 1- D E CLAM TIO N O F IW A LID ITY O F U .S.PA TEN T 7,010,508

66.    Salem Toolsincorporatesby referencetheallegationsin paragraphs1through 65ofthis

Com plaintasiffully setforth herein;

67.    Landm ark Technology claim sto have exclusive rightsto the 5508 Patent.




                                                 14
 Case 7:19-cv-00738-EKD Document 1 Filed 11/01/19 Page 15 of 20 Pageid#: 15




68.    Landmark Teclmology dem anded thatSalem Toolspay foralicenseto the '508 Patent

w ithin 15 days.

69.    Landm ark Teclmology isin thebusinessofthreatening litigation and following tllroug,
                                                                                          h

on thatthreatspecifically withrespectto the 5508 Patent.A review ofLandm ark Technology's

record demonstratesaconsistentand frequentpattem oflitigation,creating areasonablefearthat

Salem Toolsw as Landm ark Teclm ology's nexttarget.

70. Theclaimsofthe5508Patentareinvalidunderatleastanyoneof35U.S.C.jj101,102,
103,and 112.

71. Theclaimsofthe'508Patentdonotconstimtepatenteligiblesubjectmatterpursuantto
35U.S.C.j101,andthereforeareaninvalidorineligiblepatentonanabstractidea.The'508
Patentclaimstheabstractidea ofautom ated dataprocessing ofbusinesstransactions.Notlzing in

theclaims,tfansformsthenatureoftheclaims''intopatenteligiblesubjectmatter.Mayo
CollaborativeServicesv.PrometheusLabs,Inc.,566U.S.66(2012).Furthermore,ûtgtqhemere
recitation ofagenedccom putercannottransform apatent-ineligibleabstractideainto apatent-

eligibleinvention.''AliceCorp.v.CLSBankInt'l,134 S.Ct.2347(2014).
72. Additionally,the'508Patentisinvalidasanticipatedpursuantto35U.S.C.j102oras
obviousptlrsuantto35U.S.C.j103.
73.    Theclaim softhe'508Patentaxealsoinvalidbecausethe specitk ation failstoprovide

any stnzcture ornecessary supportforthenum erousmeansplusfunction elem entsrecited in the

claims,pursuantto35U.S.C.j 112.Theclaimsarealtogethervague,insufficientlydescribed,
and non-enabled.

74.    Based on Landm ark Teclm ology's letters,the im m inentthreatoflitigation forpatent

infdngem ent,a consistentpattem ofcanying outitsthreat,as w ellas Salem Tools'dezlialof
 Case 7:19-cv-00738-EKD Document 1 Filed 11/01/19 Page 16 of 20 Pageid#: 16




infringement,an actualcaseorconkoversy existsastowhetherSalem Toolsinfringesanyvalid

claim ofthe '508 Patent.

75.    Salem Toolsis entitled to a declaration thatthe claim softhe '508 Patentare invalid.

          CO U N T 11 - N O N -IN FR IN G EM ENT O F U .S.PA TEN T N O .7,010,508

76.    Salem Toolsrestatesand incolporatesby referencetheallegationsin paragraphs1

through 75 oftllisComplaintasiffully setforthherein.

77.    Landm ark Teclm ology claim sto have exclusive dghtsto the 5508 Patent.

78.    Landmark Technologyhasdem andedthatSalem Toolspay fora licenseto the '508

Patentw ithin 15 days.

79.    Landmark Technology isin thebusinessofthreatening litigation and followingtlzrough

on thattk eatspecitk ally w ith respectto the '508 Patent. A review ofLandm ark Technology's

record dem onskatesa consistentand readily apparentpattern oflitigation.

80.    Landmark Technology failed to conductaproperpre-dem and duediligencepriorto

dem anding $65,000 from Salem Tools.
81.    Landm ark Technology has m ade nllm erouslim iting adm issionsregarding the scope of

the claim softhe 9508 Patentduring itsprosecution andin subsequentUSPTO and litigation

proceedùlgs.

82.    Even a cursorypre-dem andresearch effortwould haveestablished thatundertheplain

languageottheclaim,andespeciallytmderthemuchnarrowerreadingarguedbytheinventor
and Landm ark Teclm ology dudng prosecution and afterw ards,Salem Tools'system and/or

teclm ology doesnotinfringe any valid and enforceable claim ofthe '508 Patent.

83.    Salem Toolshasnotinfringed and doesnotinfringe any valid and enforceable claim of

the '508 Patent,w hetherliterally ortm derthe doctdne ofequivalents.
 Case 7:19-cv-00738-EKD Document 1 Filed 11/01/19 Page 17 of 20 Pageid#: 17




84.    Additionally,Salem Toolsisnotliableforany induced,contributory,divided,orother

indirectinfringem entofany valid and enforceableclaim ofthe '508Patent.NeitherSalem

Tools,noritscustom erswhoaccessitswebsite,noranyoneassociatedwith Salem Tools,utilizes

everyelem entofany claim in the '508 Patentasisrequired forinfringem ent.

85.    Based on Landm ark Teclmology'slettersandaccusationsofpatentinfringem ent,

especially in lightofitspattern oflitigation,and Salem Tools'denialofinG ngem ent,a

substantial,im m ediate,and realcontroversy existsbetween Salem Tools and Landm ark

Technology regarding whetherSalem Toolsdirectly orindirectly infringesorhasinfringed the

'508Patent.A judicialdeclaration isnecessarytodeterminetheparties'respectiverights
regarding the 5508 Patent.

86.    Atleastinpart,thecontroversy arisesf'
                                           rom Landmark Technology'sdemand lettersto

Salem Toolsclaim ing thatSalem Toolsinfringes atleastclaim 1 ofthe 1508 Patent,and

providingSalem Toolstheoptiontopayforalicensetothe:508Patentwithin fReen(15)days
ofthe FirstLetterbeing sent. Landm ark Teclm ology'sdem and letters alone,and in com bination

w ith u ndm ark Teclm ology'sw idespread cam paipzofsling patentinfringem entlaw suits

againstlicensing targetsthatrefuse to pay the license fee Landm ark Teclm ology dem ands,

clearly dem onstratesLandm ark Technology'sintentto seek to erroneously enforcethe :508

PatentagainstSalep Tools.

87. A judicialdeclarationthatSalem Toolsdoesnotdirectlyorindirectlyinfringeanyvalid
and enforceable claim ofthe '508 Patentisnecessary and appropriate so thatSalem Toolsm ay

ascertainitsdghtsregardingthe'508Patentandtopreventfurtherinjuryto Salem Tools.
 Case 7:19-cv-00738-EKD Document 1 Filed 11/01/19 Page 18 of 20 Pageid#: 18




88.    W hileSalem Toolssubm itsitdoesnotinfringethe 1508 Patentand isentitledto a

declaration stating asm uch,Salem Toolsisaltem atively entitledto adeclaration thatLandm ark

Technology m ay notrecoverdam agespriorto A ugust2,2019.

                                    CO UN T lII-
              FEDER AI,UN FA IR A N D D ECEPTIV E TM DE PM C TICES
                                UNDER 15U.S.C.j45(a)(1)
89.    Salem Toolsrestates and incop oratesby reference the allegations in parap aphs 1

through 88ofthisComplaintasiffully stated herein.

90. LandmarkTechnology'sallegationsareobjectivelybaselessgivenalackofactual
allegationsrelated tothe specificareain which Salem Tools'servicesortechnology allegedly

infringe the 1508 Patent.

91.    Landm ark Technology failed to reasonably construe the claim s,then failed to com pare

said claim sto Salem Tools'servicesortechnology,butinstead only generally pointed to Salem

Tools'webpage(alongwithboilerplate,genedccomputer/serverterminology)toallegethatthe
webpagesom ehow infringesthe daimsofthe 1508 Patent.

92. LandmarkTeclmology'sinfringementallegationsareobjectivelybaselessgiventhe
deceptive and m isleading inform ation regarding the im portance ofthe 1508 Patentas a ûi
                                                                                        pioneer

patent.''In fact,the :508Patentrelatesto outdated and obsoleteteclmology forscreerling loan

applicationsbased on terminalsatbank branches,which wasconfirmedbytheUSPTO Patent

Trialand AppealBoard.

93.    A D istrictA ttorney in W asco County,Oregon hasalready decided thateffectively

identicalpracticesby Landm ark Teclmologyregarding anotherpatentwereçtwithoutmerit''and

Rdeceptive.''(SeeExhibitE,p.5ofletter(seebottom righthandcom er)(blankpagesfrom
websitewhereexhibitdownloadeddeleted)(emphasesaddedl.)



                                               18
 Case 7:19-cv-00738-EKD Document 1 Filed 11/01/19 Page 19 of 20 Pageid#: 19




94. Byu owinglytllreateninglitigationinbadfaith,LandmarkTeclmologyisengagingin
tmfairm ethods,and unfairordeceptive actsorpracticesin oraffecdng comm erce.

95.    Landm ark Technoloav svstem atically endslitigation involvingthe :508 Patentpriorto

claim construction orany decision onthem erits.thereby artfullypreservingitsability to arcue

forplain language scope ofan irrelevantpatentand continuing to torm entirm ocentcom parlies

with apatentthatLandm ark Technology lm owsisinvalid underthecurrentpatentlaws.

96.    Landm ark Teclmology'sactionsconstitutebad-faithpatentlitigation because Landmark

Teclmology lm ows,orshould know,thatthepatentscoperelatesto outdated and irrelevant

technolocv wllich isno loncerused bv todav'se-comm ercetechnology and camlotpossiblv be

infrinaed.

97. Salem Toolsseeksan injtmctionandsuchotherequitablereliefasdeemedappropriate.
                                    REQUEST FOR RELIEF
       W HEREFORE,PlaintiffSalem Tools,Inc.respectfullyrequeststhefollowingrelief:

       a.     A declaration thatSalem Tools'services,system s,technology,and/orpractices

       havenotinfringed and donotinfringe,directly orindirectly,any valid and enforceable

       claim ofthe 5508 Patent,whetherliterally ortmderthe doctline ofequivalents;

       b.     A declaration thatthe '508Patentisinvalidforfaillzreto comply with the

       requirementsof35U.S.C.,includingatleastjj101,102,103and/or112;
       C.     Decladng thatLandmark Technology'sconductconstituteslmlawful,unfair,and

       deceptive trade practices;

       d.     An orderdeclalingthattllisisan exceptionalcaseand awarding Salem Toolsits

       costs,expenses,disbursementsandreasonableattom eys'feesunder35U.S.C.j285,
                                                                               .




                                              19
Case 7:19-cv-00738-EKD Document 1 Filed 11/01/19 Page 20 of 20 Pageid#: 20




     e.      An orderawarding Salem Toolsal1dam agescaused by Landm ark Teclmology's

     unlawfulacts,includingpunitivedam agesandpre-andpost-judm entinterest,as
     provided by law;and

             ThatSalem Toolsbe pynted such otherand furtherlegaland equitablerelief
     againstDefendanttaandm ark Teclmology astheCourtdeem sappropriate.


                                   JU RY DEM AN D

          UnderRule38ofthe FederalRulesofCivilProcedure,Plaintiffdem andsa

trialbyjuryona1lissuessotliable.
Dated:November 1,2019                Respectfully submitted,

                                     SA LEM T O O LS,IN C.


                                     By:
                                    Natha .Evans(V arNo.468
                                    Zac aryS.Agee VA BarNo.88966)
                                     W OO D S RO GERS PLC
                                     123 EastM ain Street,Fifth Floor
                                     Charlottesville,VA 22902
                                     (434)220-6829(Phone)
                                     (434)220-5687(Fax)
                                     nevans@woodsrogers.com
                                     zagee@ woodsrogers.com
                                     ATTO RN EY FO R PLA INTIFF,
                                     SALEM TO OLS,IN C.




                                           20
